Case 8-20-08049-ast Doc 960-10 Filed Ol/lo/2s Entered O1/13/25 20°41:744

EXHIBIT J
Case 8-20-O0804¥9-ast Doc 290-10 Filed O1/1ls/23s Entered O1/15/25 20:41'44

RE: Agreements

From:
Ayind Walia <awalia@porteck.com>

r adil Parmar <paul@constellationhealthgroup.com>
Date:
Wed, 31 May 2017 13:15:28 -0400

Paul

Allrad direct is 100% owned by objecttech holdings, LLC. Allrad direct has one llc member named objecttech holdings

Thanks
Arvind

Selected Entity Name: ALLRAD DIRECT, LLC
Selected Entity Status Information

Current Entity Name(] ALLRAD DIRECT, LLC
DOS ID 3513743
Initial DOS Filing DateOMAY 07, 2007
CountyO NEW YORK
CurisdictionO DELAWARE

aN
/ Entity TypeO FOREIGN LIMITED LIABILITY COMPANY

Current Entity StatusO ACTIVE

Selected Entity Address Information
DOS Process (Address to which DOS will mail process if accepted on behalf of the entity)
MARK E GELFAND ESQ
999 STEWART AVENUE
BETHPAGE, NEW YORK, 11714
Registered Agent

NONE

Thanks
Arvind

_ 7 vind Walia
\ , Orion Health Corporation
100 Jericho Quadrangle, Ste 235
Jericho, NY 11753
http://www.orionhealthcorp.com EHREN-WALIA 004003

516-874-8101 (phone)
Case 38-20-08049-ast Doc 96-10 Filed O1/15/25

Entered Ol/1lo/23 20°41°44

646-536-2515 (fax)
516-770-6222 (Mobile)

From: Paul Parmar [mailto:paul@constellationhealthgroup.com]
Sent: Wednesday, May 31, 2017 12:59 PM

To: Arvind Walia

Subject: RE: Agreements

But paperwork all says AllRad Direct ?
That is the product ?

What are all the products

From: Arvind Walia [mailto:awalia@ porteck.com]

Sent: Wednesday, May 31, 2017 12:56 PM

To: Paul Parmar <paul@constellationhealthgroup.com>

Subject: RE: Agreements

i

Objecttech holdings Ilc

Arvind Walia

CEO, Orion Health Corporation
100 Jericho Quadrangle, Ste 235
Jericho, NY 11753

http://www. orionhealthcorp.com/
316-874-8101 (phone)
646-536-2515 (fax)

516-770-6222 (Mobile)

From: Paul Parmar [mailto:paul@constellationhealthgroup.com]

Sent: Wednesday, May 31, 2017 12:54 PM
To: Arvind Walia; Sam Zaharis
Subject: RE: Agreements

What is the name of the company we are acquiring Arvind.

From: Arvind Walia [mailto:awalia@ porteck.com]

Sent: Wednesday, May 31, 2017 8:19 AM
To: Sam Zaharis <Sam.Zaharis@constellationhealthgroup.com>

Ce: Paul Parmar <paul@constellationhealthgroup.com>

Subject: Agreements

Sam
Can we get this done today, Please.

Thanks
Arvind

Arvind Walia
CEO, Orion Health Corporation

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\ 26-770-6222 (Mobile)

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Case o-20-06049-aSt DOC o0-LO Filed Ol/ito/Z5 Entered Uliloizo cUl4 1°44

FW: allrad

Ceeeeeee ee a enone

From:

Paul Parmar <"/o=exchangelabs/ou=exchange administrative group
(fydibohf23spdit)/cn=recipients/cn=503ffed2192e490291 25b06708036b06-paul parmar'>
To:

Arvind Walia <awalia@porteck.com>, Arvind Walia <arvind.walia@orionhealthcorp.com>
Date:

Wed, 31 May 2017 13:04:14 -0400

Attachments:

AllRad Direct Diligence Report - 5-18-2017 Draft.pptx (263.76 kB)

Sema,

Can we get accurate figures here pl.
Call me so we can discuss

From: Arvind Walia [mailto:awalia@porteck.com]
Sent: Thursday, May 18, 2017 5:08 PM

To: Paul Parmar <paul@constellationhealthgroup.com>; Sam Zaharis <Sam.Zaharis@constellationhealthgroup.com>

Subject: allrad

Paul and Sam

Please find the diligence report.
Sam — when can I get a contract...

Thanks
Arvind

Arvind Walia

CEO, Orion Health Corporation
100 Jericho Quadrangle, Ste 235
Jericho, NY 11753

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